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                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA                       Fit
                                                                    za II S£P -I AM 9: 12
UNITED STATES OF AMERICA!                    CASE NO.

                       Plaintiff!
               vs.                           JUDGMENT OF DISMISSAL
Carlos Alberto Rolon (2)!

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case! without prejudicei or

     the Court has dismissed the case for unnecessary delaYi or

___
  x _ the Court has granted the motion of the Government for dismissali or

     the Court has granted the motion of the defendant for a judgment of
     acquittali or

     a jury has been waived! and the Court has found the defendant not
     guiltYi or

     the jury has returned its verdict! finding the defendant not guiltYi

__
 x __ of the offense(s) as charged in the Information:

      21:952 and 960   i     18:2




          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: 8/31/11


                                              UNITED STATES MAGISTRATE JUDGE
